
PONDER, Judge.
The Director of the Department of State Civil Service, relying upon our decision in Guillory v. Department of Transportation and Development, 439 So.2d 657 (La. App. 1st Cir.1983), filed a Motion to Dismiss an Unlodged Appeal, since the opinion of the Referee was filed on December 23, 1983, since no application for review by the State Civil Service Commission was filed by either party and since the application for appeal to this court was received by the Department of Civil Service on January 23, 1984.
However, the Supreme Court overruled Guillory, supra, and held that La.C.C.P. art. 5059 was applicable and that if the thirty days allowed for appeal of a Civil Service ruling expired on a holiday or half-holiday, the applicant has until the end of the next business day to file his application.
The motion to dismiss is therefore denied.
MOTION DENIED.
